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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


  AMERICA FIRST LEGAL
  FOUNDATION,
  611 Pennsylvania Ave., SE #231
  Washington, D.C. 20003

                       Plaintiff,                Civil Action No.: 24-597

                v.


  UNITED STATES DEPARTMENT OF
  AGRICULTURE,
  1400 Independence Ave., S.W.
  Washington, D.C. 20250

                       Defendant.


                                    COMPLAINT

      1.      Plaintiff America First Legal Foundation (“AFL”) brings this action

against the United States Department of Agriculture (“USDA”), to compel compliance

with the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552.

                           JURISDICTION AND VENUE

      2.      This Court has jurisdiction over this action pursuant to 5 U.S.C. §

552(a)(4)(B) and 28 U.S.C. § 1331. Additionally, it may grant declaratory relief

pursuant to 28 U.S.C. § 2201, et seq.

      3.      Venue is proper in this District pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1391(e).
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                                     PARTIES

      4.      The Plaintiff, AFL, is a nonprofit organization working to promote the

rule of law in the United States, prevent executive overreach, ensure due process and

equal protection for all Americans, and encourage public knowledge and

understanding of the law and individual rights guaranteed under the United States

Constitution and the laws of the United States. AFL’s mission includes promoting

government transparency and accountability by gathering official information,

analyzing it, and disseminating it through reports, press releases, and/or other

media, including social media platforms, all to educate the public.

      5.      The Defendant, USDA, is an agency under 5 U.S.C. § 552(f), with its

headquarters at 1400 Independence Ave., SW, Washington, DC 20250.

      6.      The Defendant has possession, custody, and control of the requested

records.

                                     BACKGROUND

      7.      The Biden Administration has stated that it is committed to a

transparent, open, and ethical government.1




1
   FACT SHEET: Biden-Harris Administration Prioritizes Effectiveness,
Accountability, and Transparency in Bipartisan Infrastructure Law Implementation,
THE WHITE HOUSE (Apr. 29, 2022), https://tinyurl.com/bdhrccyk; Biden White House
Pledges Data, Transparency, Respect for Free Press, REUTERS (Jan. 20, 2021),
https://tinyurl.com/3fzz25mf; Mark Joyella, Biden’s White House Press Secretary
Promises      ‘Trust    and    Transparency,’    FORBES     (Jan.   20,    2021),
https://tinyurl.com/2p8729wz.

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      8.      “Timely disclosure of records is also essential to the core purpose of

FOIA.” U.S. DEP’T JUST., Freedom of Information Act Guidelines (Mar. 15, 2022),

https://tinyurl.com/2yd463dv.

                             AFL’S FOIA REQUESTS

                                Communications Request

      9.      On October 6, 2022, AFL submitted a FOIA request to the USDA

seeking communications between USDA and three specified email domains. Ex. 1.

      10.     The request named the custodians for the requested documents and

communications and established a timeframe for the search – August 16, 2022

through the date the FOIA was fully processed. Id.

      11.     This request sought a fee waiver. Id.

      12.     On October 6, 2022, USDA acknowledged the request via email. Ex. 2.

      13.     This email assigned the request tracking number 2023-OGC-00081-F.

Id.

      14.     On October 27, 2022, USDA requested clarification about the records

sought under this request. Ex. 3.

                                    Standards Request

      15.     On October 6, 2022, AFL submitted a FOIA request to the USDA

seeking records that would show the standards “set and enforced by the secretary”

under Section 22007 of the Inflation Reduction Act, and other records referencing

Section 22007 of the Inflation Reduction Act. Ex. 4.

      16.     This request sought a fee waiver. Id.




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       17.     On October 6, 2022, USDA acknowledged the request via email. Ex. 5.

       18.     This email assigned the request tracking number 2023-OGC-00080-F.

Id.

                                         Both Requests

       19.     Between October 27, 2022, and August 4, 2023, USDA and AFL

negotiated regarding the scope of both requests described above.2 Ex. 6.

       20.     On August 4, 2023, AFL and USDA agreed to limit the custodians for

the searches and to exclude news blast-type communications from both requests. Id.

       21.     On February 1, 2024, AFL requested a status update on the requests.

Id.

       22.     Later that day, on February 1, 2024, USDA responded that it was

“working diligently to complete [AFL’s] request.”

       23.     Also on February 1, 2024, AFL asked for an estimated date of production

and received no response.

       24.     On February 13, 2024, AFL again requested an estimated date of

production and cited the USDA’s FOIA report, which states that complex requests

are averaging about 190 days, with a median time of 55 days.3

       25.     At that time, AFL’s request had been outstanding for 466 days.




2 These negotiations were contained in a single email thread (see Ex. 6), and the suggested measures

applied to both requests.
3 UNITED STATES DEPARTMENT OF AGRICULTURE, FREEDOM OF INFORMATION ACT ANNUAL REPORT FY

2022 at 31-32 (available at https://bit.ly/3wkXEES).


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      26.    USDA responded and again assured AFL that it was “working

diligently” and that the request would be “processed as quickly as possible,” without

providing any concrete details.

      27.    As of the date of this filing, Defendant USDA has not provided any

records under either of the above requests nor given an estimated date of production

for either request.

                                CLAIM FOR RELIEF

                         Violation of the FOIA, 5 U.S.C. § 552

      28.    AFL incorporates paragraphs 1–27 by reference.

      29.    AFL properly requested records within the possession, custody, and

control of the Defendant.

      30.    The Defendant failed to conduct searches for responsive records.

      31.    Moreover, because Defendant failed to conduct searches, it has failed to

disclose any segregable, non-exempt portions of responsive records. See 5 U.S.C. §

552(b).

      32.    The Defendant has failed to respond to AFL’s requests within the

statutory time period. See 5 U.S.C. § 552(a)(6).

      33.    Accordingly, AFL has exhausted its administrative remedies. See 5

U.S.C. § 552(a)(6)(C).

      34.    The Defendant has violated the FOIA by failing to reasonably search for

records responsive to AFL’s FOIA request and release nonexempt records within the

prescribed time limit.




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                               PRAYER FOR RELIEF

      WHEREFORE, AFL respectfully requests that this Court:

      i.       Declare that the records sought by AFL’s requests must be disclosed

pursuant to 5 U.S.C. § 552;

      ii.      Order the Defendant to search immediately, demonstrating search

methods reasonably likely to lead to the discovery of responsive records;

      iii.     Order the Defendant to produce by a date certain all non-exempt records

responsive to AFL’s FOIA requests, accompanied by a Vaughn index of any

responsive records or portions of responsive records being withheld under a claim of

exemption;

      iv.      Order the Defendant to grant AFL’s requests for fee waivers;

      v.       Award AFL attorneys’ fees and costs incurred in this action pursuant to

5 U.S.C. § 552(a)(4)(E); and

      vi.      Grant AFL such other and further relief as this Court deems proper.


Date: March 1, 2024
                                            Respectfully Submitted


                                            /s/ Jacob Meckler________
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